                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

In re:                                      )
                                            )    Chapter 11, Subchapter V
SERENITY HOMES OF TN LLC                    )    Case No: 3:23-bk-01049
                                            )    Judge Walker
         Debtor.                            )


          DEBTOR’S CHAPTER 11 PLAN OF REORGANIZATION
                           (Subchapter V)


       This Plan is for a small business debtor under Subchapter V. Pursuant to the
requirements of 11 U.S.C. § 1190, this Plan includes (A) a brief history of the
business operations of the debtor; (B) a liquidation analysis; and (C) projections
with respect to the ability of the debtor to make payments under the proposed plan
of reorganization.

      A.     Brief History of the Business Operations of the Debtor. Serenity
Homes of TN LLC (“Serenity” or “Debtor”), is a real estate related company with a
business model centered on acquiring, repairing and selling properties. Depending
on the best use of a particular property, it also holds and rents property from time-
to-time.

      Serenity was formed in Tennessee on August 7, 2019, and has had two (2)
members: Eileen Santangelo and David Day. Mr. Day resigned as a member in 2022
(and recently passed away on May 18, 2023).

       For the relevant pre-bankruptcy period Serenity owned four (4) properties—
three in Portland, Tennessee and one in Franklin, Kentucky. Serenity fell behind on
the mortgage payments for the Portland properties and a lender, Easy Street
Capital, sought to foreclose on one of the properties. To avoid losing the property to
foreclosure, and to preserve the value therein, Serenity elected to file an emergency
Chapter 11 case. The Chapter 11 case has provided stability against the foreclosure
and a path forward for Serenity to address its overall debt. Serenity now proposes to
restructure its financial obligations under Chapter 11 via marketed sales of its
properties to satisfy the obligations under this Plan.

       B.    Liquidation Analysis. To confirm the Plan, the Court must find that all
creditors and equity interest holders who do not accept the Plan will receive at least




Case 3:23-bk-01049     Doc 31    Filed 06/21/23 Entered 06/21/23 14:46:46   Desc Main
                                Document      Page 1 of 26
as much under the Plan as such claim and equity interest holders would receive in a
chapter 7 liquidation. A liquidation analysis is attached to the Plan as Exhibit A.

      C.    Feasibility Projections. The Plan proponent must also show that it will
have enough cash over the life of the Plan to make the required Plan Payments.

             i.    The Debtor receives rental income of less than $2,000 per
      month, which is insufficient to meets its continuing costs of operations. Thus,
      the projected disposable income (as defined by § 1191(d) of the Code) for the
      period described in § 1191(c)(2) is less than $20,000 (over 3 years). As
      reflected herein, the primary source of Plan funding will be proceeds
      generated from marketed property sales.

          ii.   The final Plan Payment is expected to be paid on or before
      December 31, 2026.

            iii. You should consult with your accountant or other
      financial advisor if you have any questions pertaining to these
      projections.

                                       ARTICLE I
                                       SUMMARY

      1.01 This Plan of Reorganization under Chapter 11 of the Code (the “Plan”)
proposes to pay the creditors the Debtor from assets of the Debtor as set forth
herein.

      1.02   This Plan provides for:    One (1)   class of administrative priority
                                                  claims;
                                        Seven (7) classes of secured claims;
                                        One (1)   class of non-priority unsecured
                                                  claims; and
                                        One (1)   class of equity security holders.


      1.03 Non-priority unsecured creditors holding allowed claims will receive
pro rata distributions totaling $2,100.00 to the class. This Plan also provides for the
payment of administrative and priority claims.

       1.04 All creditors and equity security holders should refer to Articles III
through VII of this Plan for information regarding the precise treatment of its
claim.




Case 3:23-bk-01049    Doc 31    Filed 06/21/23 Entered 06/21/23 14:46:46     Desc Main
                               Document      Page 2 of 26
      1.05 Your rights may be affected. You should read this Plan
carefully and discuss it with your attorney, if you have one. If you do not
have an attorney, you may wish to consult one.

                              ARTICLE II
                CLASSIFICATION OF CLAIMS AND INTERESTS

      2.01 Class 1. This class shall consist of all allowed claims entitled to priority
under § 507(a) of the Code (except administrative expense claims under § 507(a)(2),
and priority tax claims under § 507(a)(8).

      2.02 Class 2. This class shall consist of the claim of PNC Bank, National
Association to the extent allowed as a secured claim under § 506 of the Code.

      2.03 Class 3. This class shall consist of the claim of First Horizon,
Association to the extent allowed as a secured claim under § 506 of the Code.

       2.04 Class 4. This class shall consist of the two (2) claims of Easy Street
(defined later herein) to the extent allowed as secured claims under § 506 of the
Code.

      2.05 Class 5. This class shall consist of the claims of the Sumner County
Trustee to the extent allowed as a secured claim under § 506 of the Code.

      2.06 Class 6. This class shall consist of the claim of William Ira Wood, IV to
the extent allowed as a secured claim under § 506 of the Code.

      2.07 Class 7. This class shall consist of claims that serve as liens on any of
the Debtor’s real estate by way of a judgment recorded with the Register of Deeds
for Sumner County, Tennessee which is not otherwise a disputed claim hereunder.

       2.08 Class 8. This class shall consist of the claim of Wood Motor Company
to the extent allowed as a secured claim under § 506 of the Code.

       2.09 Class 9. This class shall consist of all unsecured claims allowed under §
502 of the Code that are not entitled to priority and not expressly included in the
definition of any other class. This class includes, without limitation, claims arising
out of the rejection of any executory contract or unexpired lease, each allowed claim
secured by a lien on property in which the Debtor has an interest to the extent that
such claim is determined to be unsecured pursuant to 11 U.S.C. § 506(a), or
unsecured by way of avoidance pursuant to 11 U.S.C. § 522(f), and each such claim
of the class described in 11 U.S.C. § 507(a), to the extent that the allowed amount of
such claim exceeds the amount which such claim may be afforded priority
thereunder.




Case 3:23-bk-01049    Doc 31    Filed 06/21/23 Entered 06/21/23 14:46:46     Desc Main
                               Document      Page 3 of 26
      2.10   Class 10. This class shall consist of the interests of the Debtor.

                         ARTICLE III
   TREATMENT OF ADMINISTRATIVE EXPENSE CLAIMS, PRIORITY TAX
                 CLAIMS AND, AND COURT FEES

       3.01 Unclassified Claims. Pursuant to § 1123(a)(1), administrative expense
claims allowed under §507(a)(2) and priority tax claims under § 507(a)(8) are not in
a class.

      3.02 Administrative Claims. Except as otherwise provided under the Plan,
each holder of an administrative expense claim allowed under § 503 of the Code will
be paid in full on the Effective Date of the Plan, in cash, or upon such other terms
as may be agreed upon by the holder of the claim and the Debtor.

             3.02.1 In the alternative to Article 3.02, in the event this Plan is non-
             consensually confirmed under § 1191(b), each holder of an
             administrative expense claim allowed under § 503 of the Code will be
             paid in full through cash disbursement of all available funds that are
             not specifically dedicated to set monthly payments within this Plan.

      3.03   Priority Domestic Support Obligations. [None].

       3.04 Priority Tax Claims. No claims meeting the requirements of § 507(a)(8)
have been identified or filed in this case; however, in the event any such claim is
identified or allowed, it will be paid in full via deferred cash payments, with 5.00%
annual interest accrual, over a period not to exceed 60 months from the Petition
Date.

      3.05 Post-Confirmation Tax Claims. All tax claims that are incurred after
Confirmation shall be payable when due under applicable non-bankruptcy law.

                           ARTICLE IV
    TREATMENT OF CLAIMS, LIENS, AND INTERESTS UNDER THE PLAN

      4.01   Claims and interests shall be treated as follows under the Plan:

Class No.               Holder of Claim or Interest:            Impaired
2                      PNC Bank, National Association
                              [ECF Claim No. 3]
              Related to 1356 Highway 259, Portland, TN 37148
                               Plan Treatment
The Allowed Secured Claim of PNC Bank, National Association (“PNC”) shall be



Case 3:23-bk-01049   Doc 31    Filed 06/21/23 Entered 06/21/23 14:46:46       Desc Main
                              Document      Page 4 of 26
allowed in the amount owed of $121,073.59, less any amounts received by the
claimant under any order granting adequate protection thereto, with such
amounts being applied to reduce the principal amount of the respective Allowed
Secured Claim.

This Claim shall be paid under the Plan as follows:

No installment payments will be made for the period preceding December 31,
2023.

This Allowed Secured Claim will be paid in full on before December 31, 2023
via lump sum payment of the then outstanding principal balance, plus interest
and fees to the extent authorized by applicable law.

The Debtor will satisfy the lump sum payment by selling the property located at
1356 Hwy 259, Portland, TN 37148 before conclusion of the Marketing Period.

In the event a sales contract is obtained but a closing has not occurred within the
Marketing Period, the Marketing Period shall be extended by up to 60 days to
close such sale.

In the event the Marketing Period concludes without the Claim in this class
having been satisfied or contractually cured, the Debtor shall immediately hire a
reputable auctioneer to sell the subject real property through a promotional
auction.

PNC shall retain its lien in the real property supporting its claim under this Plan
in the same manner and priority as existed on the Petition Date pending full
payment of the Claim as set forth herein. The Debtor shall also retain all
required insurance on the collateral securing the Claim.
Class No.                 Holder of Claim or Interest:                  Impaired
3                                  First Horizon
               Related to 1356 Highway 259, Portland, TN 37148
                                 Plan Treatment
The Allowed Secured Claim of First Horizon (scheduled as New Horizon), (“First
Horizon”) shall be allowed in the amount of $70,000.00, less any amounts
received by the claimant under any order granting adequate protection thereto,
with such amounts being applied to reduce the principal amount of the respective
Allowed Secured Claim.

This Claim shall be paid under the Plan as follows:

No installment payments will be made for the period preceding December 31,
2023.



Case 3:23-bk-01049   Doc 31    Filed 06/21/23 Entered 06/21/23 14:46:46     Desc Main
                              Document      Page 5 of 26
This Allowed Secured Claims will be paid in full on before December 31, 2023
via lump sum payment of the then outstanding principal balance, plus interest
and fees to the extent authorized by applicable law.

The Debtor will satisfy the lump sum payment by selling the property located at
1356 Hwy 259, Portland, TN 37148 before conclusion of the Marketing Period.

In the event a sales contract is obtained but a closing has not occurred within the
Marketing Period, the Marketing Period shall be extended by up to 60 days to
close such sale.

In the event the Marketing Period concludes without the Claim in this class
having been satisfied or contractually cured, the Debtor shall immediately hire a
reputable auctioneer to sell the subject real property through a promotional
auction.

First Horizon shall retain its lien in the real property supporting its claim under
this Plan in the same manner and priority as existed on the Petition Date
pending full payment of the Claim as set forth herein. The Debtor shall also
retain all required insurance on the collateral securing the Claim.
Class No.                 Holder of Claim or Interest:                   Impaired
4(a)           Easy Street Capital Investments, LLC; EF Mortgage,
                       LLC; and/or BSI Financial Services
                                 [ECF Claim No. 5]
                 Related to 2098 Highway 76, Portland, TN 37148
                                  Plan Treatment
The Allowed Secured Claim of Easy Street Capital Investments, LLC; EF
Mortgage, LLC; and/or BSI Financial Services (collectively, “Easy Street”)
related to ECF Claim No. 5 secured by real estate located at 2098 Highway 76,
Portland, TN 37148 shall be allowed in the amount owed of $277,363.78, less any
amounts received by the claimant under any order granting adequate protection
thereto, with such amounts being applied to reduce the principal amount of the
respective Allowed Secured Claim.

This Claim shall be paid under the Plan as follows:

No installment payments will be made for the period preceding December 31,
2023.

This Allowed Secured Claim will be paid in full on before December 31, 2023
via lump sum payment of the then outstanding principal balance, plus interest
and fees to the extent authorized by applicable law.




Case 3:23-bk-01049   Doc 31    Filed 06/21/23 Entered 06/21/23 14:46:46     Desc Main
                              Document      Page 6 of 26
The Debtor will satisfy the lump sum payment by selling the property located at
2098 Highway 76, Portland, TN 37148 before conclusion of the Marketing Period.

In the event a sales contract is obtained but a closing has not occurred within the
Marketing Period, the Marketing Period shall be extended by up to 60 days to
close such sale.

In the event the Marketing Period concludes without the Claim in this class
having been satisfied or contractually cured, the Debtor shall immediately hire a
reputable auctioneer to sell the subject real property through a promotional
auction.

Easy Street shall retain its lien in the real property supporting its claim under
this Plan in the same manner and priority as existed on the Petition Date
pending full payment of the Claim as set forth herein. The Debtor shall also
retain all required insurance on the collateral securing the Claim.
Class No.                 Holder of Claim or Interest:                 Impaired
4(b)           Easy Street Capital Investments, LLC; EF Mortgage,
                       LLC; and/or BSI Financial Services
                                [ECF Claim No. 4]
               Related to 200 Tranquility Lane, Portland, TN 37148
                                 Plan Treatment
The Allowed Secured Claim of Easy Street Capital Investments, LLC; EF
Mortgage, LLC; and/or BSI Financial Services (collectively, “Easy Street”)
related to ECF Claim No. 4 secured by real estate located at 200 Tranquility
Lane, Portland, TN 37148 shall be allowed in the amount owed of $347,090.46,
less any amounts received by the claimant under any order granting adequate
protection thereto, with such amounts being applied to reduce the principal
amount of the respective Allowed Secured Claim.

This Claim shall be paid under the Plan as follows:

No installment payments will be made for the period preceding December 31,
2023.

This Allowed Secured Claim will be paid in full on before December 31, 2023
via lump sum payment of the then outstanding principal balance, plus interest
and fees to the extent authorized by applicable law.

The Debtor will satisfy the lump sum payment by selling the property located at
200 Tranquility Lane, Portland, TN 37148 before conclusion of the Marketing
Period.

In the event a sales contract is obtained but a closing has not occurred within the



Case 3:23-bk-01049   Doc 31    Filed 06/21/23 Entered 06/21/23 14:46:46     Desc Main
                              Document      Page 7 of 26
Marketing Period, the Marketing Period shall be extended by up to 60 days to
close such sale.

In the event the Marketing Period concludes without the Claim in this class
having been satisfied or contractually cured, the Debtor shall immediately hire a
reputable auctioneer to sell the subject real property through a promotional
auction.

Easy Street shall retain its lien in the real property supporting its claim under
this Plan in the same manner and priority as existed on the Petition Date
pending full payment of the Claim as set forth herein. The Debtor shall also
retain all required insurance on the collateral securing the Claim.
Class No.                 Holder of Claim or Interest:                 Not
5                            Sumner County Trustee                     Impaired
                                [ECF Claim No. 1]
                                 Plan Treatment
The Allowed Secured Claims of the Sumner County Trustee shall be allowed in
the respective amounts of:

   •   $1,244.24 – 2022 property taxes related to 2098 76 Hwy; and
   •   $1,313.26 – 2022 property taxes related to 200 Tranquility Lane

These Claims shall be paid under the Plan at the time of closing(s) of sales of the
respective properties before conclusion of the Marketing Period.

In the event a sales contract is obtained but a closing has not occurred within the
Marketing Period, the Marketing Period shall be extended by up to 60 days to
close such sale.

In the event the Marketing Period concludes without the Claim in this class
having been satisfied or contractually cured, the Debtor shall immediately hire a
reputable auctioneer to sell the subject real property through a promotional
auction.

Interest shall continue to accrue on these Claims at the applicable statutory rate
of 18% per annum from the Petition Date until satisfaction of the respective
Claim.

The Sumner County Trustee shall retain its lien(s) in the real property
supporting its claim(s) under this Plan in the same manner and priority as
existed on the Petition Date pending full payment of the Claim(s) as set forth
herein. The Debtor shall also retain all required insurance on the collateral
securing the Claim(s).
Class No.                Holder of Claim or Interest:              Impaired



Case 3:23-bk-01049   Doc 31    Filed 06/21/23 Entered 06/21/23 14:46:46     Desc Main
                              Document      Page 8 of 26
6                           William Ira Wood, IV
                              Plan Treatment
The Allowed Secured Claims of William Ira Wood, IV (“Wood”) shall be allowed
in the principal amount of $116,000.00, less any amounts received by the
claimant under any order granting adequate protection thereto, with such
amounts being applied to reduce the principal amount of the respective Allowed
Secured Claim.

This Claim shall be paid under the Plan as follows:

No installment payments will be made for the period preceding December 31,
2023.

This Allowed Secured Claim will be paid in full on before December 31, 2023
via lump sum payment of the then outstanding principal balance, plus interest
and fees to the extent authorized by applicable law.

The Debtor will satisfy the lump sum payment by selling the property located at
8589 Scottville Road, Franklin, KY 42134 before conclusion of the Marketing
Period.

In the event a sales contract is obtained but a closing has not occurred within the
Marketing Period, the Marketing Period shall be extended by up to 60 days to
close such sale.

In the event the Marketing Period concludes without the Claim in this class
having been satisfied or contractually cured, the Debtor shall immediately hire a
reputable auctioneer to sell the subject real property through a promotional
auction.

Wood shall retain its lien in the real property supporting its claim under this
Plan in the same manner and priority as existed on the Petition Date pending
full payment of the Claim as set forth herein. The Debtor shall also retain all
required insurance on the collateral securing the Claim.
Class No.                Holder of Claim or Interest:                Not
7                                 KCC Electric                       Impaired
                                Plan Treatment
The Allowed Secured Claim of KCC Electric (“KCC”) shall be allowed in the
amount of $7,000.00.

This Claim is based upon a mechanic’s lien recorded in the Sumner County
Register of Deeds on July 11, 2022 as Instrument No. 1422105. This Claim shall
be paid under the Plan, in full with interest of 7.00% per annum accruing from
the Petition Date to the payoff date. The payoff of this Claim shall be made at the



Case 3:23-bk-01049   Doc 31    Filed 06/21/23 Entered 06/21/23 14:46:46     Desc Main
                              Document      Page 9 of 26
closing of the first sale of real estate sale in Sumner County, Tennessee as
provided for in this Plan.

KCC shall retain its lien supporting its claim under this Plan in the same
manner and priority as existed on the Petition Date pending full payment of the
Claim as set forth herein. Upon satisfaction of this Claim as provided herein,
KCC shall record a release of the lien with the Register of Deeds.
Class No.                 Holder of Claim or Interest:                Not
8                             Wood Motor Company                      Impaired
                                [ECF Claim No. 2]
                                 Plan Treatment
The Allowed Secured Claim of Wood Motor Company (“WMC”) shall be allowed
in the amount owed of $8,708.62, less any amounts received by the claimant
under any order granting adequate protection thereto, with such amounts being
applied to reduce the principal amount of the respective Allowed Secured Claim.

This Claim shall be paid under the Plan as follows:

       (i)  Thirty-six (36) equal monthly installments of principal and interest
shall be made in the amount of $271.89.

      (ii)   Interest shall accrue at the fixed rate of 7.75% per annum.

       (iii)  The first monthly installment payment will be due on the 15th day of
 the first month following the Effective Date and subsequent payments will be
 due on the 15th day of each month thereafter until the secured claim is paid in
 full. Any pending Adequate Protection Payments will continue to accrue until
 the Effective Date.

       (iv)  Any terms of the existing note and security agreement evidencing
 this claim which may conflict with the terms of the Plan shall be deemed
 modified by the terms of this Plan.

WMC shall retain its lien in the collateral supporting this Claim until the final of
the above payments; or through acceleration of such payments by the Debtor.
Upon receipt of such final payment, WMC shall release its lien on the collateral
and remit clear title to the Debtor.
Class No.                  Holder of Claim or Interest:                 Impaired
9                          All Allowed Unsecured Claims
                                  Plan Treatment
This class shall consist of the allowed unsecured claims not entitled to priority
and not expressly included in the definition of any other class. This class
includes, without limitation, claims arising out of the rejection of any executory
contact or unexpired lease, each allowed claim secured by a lien on property in



Case 3:23-bk-01049    Doc 31    Filed 06/21/23 Entered 06/21/23 14:46:46    Desc Main
                               Document     Page 10 of 26
which the Debtor has an interest to the extent that such claim is determined to
be unsecured pursuant to 11 U.S.C. § 506(a), or unsecured by way of avoidance
pursuant to 11 U.S.C. § 522(f), and each such claim of the class described in 11
U.S.C. § 507(a), to the extent that the allowed amount of such claim exceeds the
amount which such claim may be afforded priority thereunder.

A pool of $2,100.00 (the “Unsecured Pool”) shall be paid pro-rata to the
claimholders in this class. The Unsecured Pool shall be satisfied through one (1)
lump-sum payment paid pro-rata to the claimholders in this class on or before
December 31, 2024.

The Debtor reserves the option to satisfy the Unsecured Pool earlier than as
provided above, including by way of sale(s) of any of its assets at its election.
Class No.                Holder of Claim or Interest:                      Not
10                              Equity Interests                           Impaired
                               Plan Treatment
Except as otherwise provided for within this Plan, the Debtor will retain all
ownership rights in property of the estate and Eileen Santangelo will retain all
ownership interest in the Debtor.

      4.02 Waiver of Secured Status and Lien Rights by Claimants. In the event
any of the claimants listed or scheduled as secured file a proof of claim
stating that no part of the claim is secured, then the claim shall be deemed
entirely unsecured and treated as such pursuant to this Plan. Further, in
the event a claimant listed or scheduled as secured files a proof of claim
asserting that all or part of its claim is unsecured, the filing of such proof
of claim shall operate as a lien waiver and this Plan may be recorded with
the appropriate County Register of Deeds to evidence the release of such
lien.

       4.03 Proof of Claim Controls Over Amount Scheduled by Debtor. The
amount listed on a timely filed proof of claim (subject to allowance of the claim)
shall control over any contrary amount listed in the Debtor’s schedules and deemed
filed pursuant to 11 U.S.C. § 1111(a).

      4.04 Voiding of Liens. Except as otherwise provided under the Plan,
Confirmation will void all liens in excess of the Allowed Secured Claims pursuant to
§ 506(d).
                                     ARTICLE V
              ALLOWANCE AND DISALLOWANCE OF CLAIMS

       5.01 Objection to Claims. The Debtor or any party in interest may file an
objection to any claim in any class on or before the first anniversary of the Effective
Date. Objections not filed within such time will be deemed waived. If any claim or



Case 3:23-bk-01049    Doc 31    Filed 06/21/23 Entered 06/21/23 14:46:46     Desc Main
                               Document     Page 11 of 26
portion thereof is challenged by an objection, the claim shall be treated as a
disputed claim.

       5.02 Disputed Claim. A disputed claim is claim that has not been allowed or
disallowed by a final non-appealable order, and as to which either: (i) a proof of
claim has been filed or deemed filed, and the Debtor, or another party in interest
has filed an objection; or (ii) no proof of claim has been filed, and the Debtor has
scheduled such claim as disputed, contingent, or unliquidated.

       5.03 Delay of Distribution on Disputed Claims. No distribution will be made
on account of a disputed claim unless such claim is allowed by a final non-
appealable order. Notwithstanding this delay of distribution on disputed claims,
distribution may, in the Debtor’s sole discretion, be made on any portion of such
disputed claim which is undisputed, pending resolution of the claim allowance as a
whole.

      5.04 Settlement of Disputed Claims. The Debtor will have the power and
authority to settle and compromise a disputed claim with court approval and
compliance with Rule 9019 of the Federal Rules of Bankruptcy Procedure. Following
Confirmation and closing of the case, the Debtor shall retain the authority to settle
and compromise claims with consent of the settling claimholder, and without the
need for Court intervention or approval.

                            ARTICLE VI
             EXECUTORY CONTRACTS AND UNEXPIRED LEASES

      6.01   There are no known executory contracts or unexpired leases of the
Debtor.

       6.02 Except for executory contracts and unexpired leases that have been
assumed, and if applicable assigned, before the Effective Date or under Article 6.01
of this Plan, or that are the subject of a pending motion to assume, and if applicable
assign, the Debtor will be conclusively deemed to have rejected all executory
contracts and unexpired leases as of the Effective Date. Any non-governmental
creditors that believe they hold claims with respect to contracts rejected hereunder
shall file a proof of claim on or before the first business day of calendar month
following the Effective Date. Any such timely filed allowed claims will participate in
the distribution for unsecured creditors set out within the Plan.

                             ARTICLE VII
                MEANS FOR IMPLEMENTATION OF THE PLAN

       7.01 The Debtor anticipates that ongoing revenues will satisfy the
obligations set forth and established in this Plan. Alternatively, the Debtor reserves




Case 3:23-bk-01049   Doc 31    Filed 06/21/23 Entered 06/21/23 14:46:46     Desc Main
                              Document     Page 12 of 26
the right to perform the Plan obligations in cash payments derived from the sale of
assets, so long as such payments are made on the timelines set forth and
established herein. Further, all recoveries (net of collection costs) from Avoidance
Actions will be used to fund the Plan.

       7.02 If this Plan is confirmed pursuant to 11 U.S.C. § 1191(b), the Debtor
anticipates the Trustee to receive Plan Payments and act as the disbursing agent in
distributing funds to allowed claims as provided under the Plan. In such event, it is
anticipated that the Trustee will receive compensation commensurate with the
work performed thereby. For purposes of confirmation, the amount of the Trustee’s
post-confirmation compensation is estimated to be equivalent to three percent (3%)
of the funds received and disbursed by the Trustee after Confirmation. Any Plan
Payments made from the Debtor to the Trustee will be through monthly Electronic
Funds Transfers (EFTs) or other medium of efficient monetary transactions from
the Debtor to the Trustee, as agreed and arranged between them.

                            ARTICLE VIII
                GENERAL AND MISCELLANEOUS PROVISIONS

       8.01 Definitions and Rules of Construction. The definitions and rules of
construction set forth in §§ 101 and 102 of the Code shall apply when terms defined
or construed in the Code are used in this Plan, and they are supplemented by the
below listed definitions. Therefore, the following terms, when used in this Plan,
shall have the following meanings:

      a. “Adequate Protection Payments” shall mean payments made by the
         Debtor to creditors holding claims secured by property of the Debtor, from
         the Petition Date to the Effective Date, whether or not such payments
         were made directly to the creditor or deposited into an account, and
         whether or not such payments were made pursuant to an order of the
         Court.

      b. “Avoidance Actions” shall mean any and all causes of action arising under
         Chapter 5 of the Bankruptcy Code, including without limitation any and
         all actions to avoid and recover overpayments, preferential transfers,
         fraudulent transfers, and any and all turnover actions to recover money or
         property due to the Debtor, regardless of whether they arise prior to or
         after the Petition Date.

      c. “Code” shall mean the Bankruptcy Reform Act of 1978, as amended, 11
         U.S.C. § 101, et seq.

      d. “Confirmation” shall mean the entry by the Court of an order confirming
         the Plan.




Case 3:23-bk-01049   Doc 31    Filed 06/21/23 Entered 06/21/23 14:46:46    Desc Main
                              Document     Page 13 of 26
      e. “Court” shall mean the United States Bankruptcy Court for the Middle
         District of Tennessee and the Judge assigned to this case.

      f. “Debtor” shall mean Serenity Homes of TN, LLC. with the status of, and
         the rights conferred to, a debtor-in-possession by § 1184 of the Code.

      g. “Disposable Income” shall mean all surplus income received by the Debtor
         after the Debtor’s payment of the operating expenses of the Debtor.

      h. “Effective Date” shall mean the later of (i) the first business day of the
         second full month following Confirmation, (ii) the first business day after
         an appeal of an order confirming this Plan has become final and
         unappealable, or (iii) October 1, 2023. For purposes of the calculations
         and disbursements proposed within this Plan, an Effective Date of
         October 1, 2023, is presumed. However, the Debtor may at any time
         designate an earlier Effective Date by filing written notice thereof with
         the Court and serving such notice on all creditors and parties in interest.

      i. “Interests” shall mean the ownership interests held by the Debtor in
         Property.

      j. “Marketing Period” shall mean the period of time from Confirmation
         through the end of the calendar month that is six (6) months from the
         Effective Date.

      k. “Petition Date” shall mean March 22, 2023.

      l. “Plan” shall mean this Chapter 11 Plan as the same may be modified from
         time to time in accordance herewith or pursuant to applicable law.

      m. “Plan Payments” shall mean all funds remitted by the Debtor, the
         Reorganized Debtor, and/or third parties on behalf of the Debtor or
         Reorganized Debtor to be distributed pursuant to the Plan.

      n. “Reorganized Debtor” shall mean the Debtor after Confirmation.

      8.02 Severability. If any provision in this Plan is determined to be
unenforceable, the determination will in no way limit or affect the enforceability
and operative effect of any other provision of this Plan.

       8.03 Binding Effect. The rights and obligations of any entity named or
referred to in this Plan will be binding upon and will inure to the benefit of the
successors or assigns of such entity.




Case 3:23-bk-01049   Doc 31    Filed 06/21/23 Entered 06/21/23 14:46:46   Desc Main
                              Document     Page 14 of 26
      8.04 Captions. The headings contained in this Plan are for convenience of
reference only and do not affect the meaning or interpretation of this Plan.

      8.05 Controlling Effect. Unless a rule of law or procedure is supplied by
federal law (including the Code or the Federal Rules of Bankruptcy Procedure), the
laws of the State of Tennessee govern this Plan and any agreements, documents,
and instruments executed in connection with this Plan, except as otherwise
provided in this Plan.

       8.06 Retention of Jurisdiction of the Court. In addition to the continued
jurisdiction after plan Confirmation that is provided for as a matter of law by the
Code and Bankruptcy Rules, the Court shall retain exclusive jurisdiction for the
following:

      (a) To determine any and all objections to the allowance, extent, priority or
          nature of any claims, the amount and proper classification of the claim of
          any holder and the determination of such objections as may be filed to any
          claims;

      (b) To determine any and all applications for compensation                 and
          reimbursement pursuant to §§ 330 or 331 of the Code;

      (c) To determine any and all applications for the assumption or rejection of
          executory contracts and unexpired leases, and the allowance of any claims
          resulting from rejection thereof;

      (d) To determine any and all applications, adversary proceedings and
          litigated matters that may be filed in this Court;

      (e) To interpret, enter final orders relating to, and otherwise act upon or in
          regard to the terms and provisions of the Plan;

      (f) To cause the correction of any defect, the curing of any omission or the
          reconciliation of any inconsistency in this Plan or the Confirmation order
          as may be necessary to carry out the purposes and intent of the Plan;

      (g) To consider the modification of this Plan after the date of Confirmation as
          allowed pursuant to the Federal Rules of Bankruptcy Procedure and the
          Code;

      (h) Except as otherwise provided in this Plan, to make any determinations
          and to issue any final orders to enforce, interpret or effectuate the Plan;




Case 3:23-bk-01049   Doc 31    Filed 06/21/23 Entered 06/21/23 14:46:46    Desc Main
                              Document     Page 15 of 26
      (i) To enter a final order concluding and terminating this case;

      (j) To review the reasonableness of any post-Confirmation professional fees
          paid by the Reorganized Debtor pursuant to Sections 10.02 and 10.04 of
          this Plan; and

      (k) To determine such other matters as may be provided for in the
          Confirmation order.

       8.07 Withdrawal of Plan. At the option of the Debtor, this Plan may be
withdrawn at any time prior to Confirmation. Such option shall be exercised by
filing with the Court a notice of withdrawal and mailing a copy of such notice to all
creditors, equity security holders and persons specially requesting all notices in this
case.

      8.08 Retention of Claims. Pursuant to § 1123(b)(3)(B) of the Code, the
Debtor shall retain each and every claim, demand or cause of action whatsoever
which the Debtor may have had power to assert immediately prior to Confirmation,
including without limitation, actions for the avoidance and recovery pursuant to §
550 of the Code of transfers avoidable by reason of §§ 544, 545, 547, 548, 549 or
553(b) of the Code.

       8.09 Continued Reporting Requirements. Pursuant to Fed. R. Bank. P.
2015, the Debtor is required to file monthly operating reports until Confirmation.
After Confirmation, the Debtor is required to file quarterly reports until the case is
administratively closed, dismissed, converted to another chapter of the Code, or a
final decree is entered by the Court, pursuant to LBR 2015-2.

       8.10 Exemptions from Transfer Tax. The issuance, transfer or exchange of a
security or the recording of any instrument evidencing the transfer of assets
contemplated under the Plan, including the post-Confirmation sale of any property,
shall not be taxed under any law imposing a stamp tax or similar tax pursuant to §
1146(a) of the Code.

       8.11 Modification of the Plan. The Debtor may propose amendments or
modifications of this Plan at any time prior to Confirmation with leave of the Court.
After Confirmation, the Debtor, with approval of the Court, and so long as they do
not materially or adversely affect the interests of creditors, may remedy any defect
or omission, or reconcile any inconsistencies in the Plan or in the order of
Confirmation in such a manner as may be necessary to carry out the purposes and
effect of this Plan. The foregoing provisions of this paragraph do not limit the ability
the Debtor to modify the Plan under § 1193 of the Code and applicable rules.




Case 3:23-bk-01049    Doc 31    Filed 06/21/23 Entered 06/21/23 14:46:46     Desc Main
                               Document     Page 16 of 26
       8.12 Early Payment. Nothing herein shall prohibit the Reorganized Debtor
from making an early payment of an allowed claim, provided the funds used to pay
that claim will not cause a reduction of the distributions to the unsecured claims in
amount. In addition, nothing herein shall be construed as imposing a temporal
requirement on the Debtor to wait the proposed length of the Plan to satisfy all Plan
Payments, and the Reorganized Debtor shall not be prohibited from making an
early payment of the guaranteed amount to Class 4 claims, provided that the
Debtor is current on any payments then required to Class 1 through Class 3 claims.

       8.13 Preservation of Claims and Causes of Action. The Debtor retains and
reserves all causes of action. It is the intent of the Debtor that this reservation of
claims shall be as broad as permitted by applicable law and shall include all claims,
whether or not disclosed in the Debtor’s schedules or this Plan. The Debtor shall
have the widest possible latitude in deciding whether or not to pursue any possible
cause of action, including without limitation any preference or other avoidance
action. Except as expressly provided in the Plan, the Confirmation order shall not
bar the Debtor by res judicata, collateral estoppel or otherwise from collecting,
prosecuting, or defending any matter, avoidance action, or cause of action. Any and
all creditors identified in Questions 6 and/or 7 to Debtor’s Statement of Financial
Affairs in this Chapter 11 case, which includes all creditors receiving payments
from the Debtor in the 90 days preceding the Petition Date and insiders receiving
payments in the year preceding the Petition Date that aggregated at least
$7,525.00, may be the defendant of an Avoidance Action or other cause of action.
These identified claims are not intended to be an exhaustive list, and the Debtor
may add to or amend the identified claims after Confirmation and reserves their
right to do so. Each creditor and party in interest is advised to review closely the
Plan and the Debtor’s filed Schedules and Statement of Financial Affairs to
determine whether any cause of action or Avoidance Action may be pursued against
it. Avoidance Actions to recover preferences pursuant to Section 547 of the Code
may exist against every person who received a payment from the Debtor within 90
days prior to the Petition Date.

       8.14 Default Under Plan. Confirmation shall effect a cure of any existing
default under a debt, and notwithstanding the provision of any lease or loan
document that may survive the Confirmation, an event of default as to any claim
after Confirmation shall exist only if the Debtor (i) fails to make monetary payment
when due under the Plan and that default is not cured within twenty (20) days
following delivery of written notice of that default, (ii) fails to insure the property
securing the creditor’s claim for the value of the property, or (iii) disposes of the
property securing the claim, normal wear and tear excepted, without either the
consent of the creditor holding the claim, the satisfaction of the lien on that
property, or the payment of the net proceeds to that creditor.




Case 3:23-bk-01049    Doc 31    Filed 06/21/23 Entered 06/21/23 14:46:46     Desc Main
                               Document     Page 17 of 26
      8.15 Notice. Unless otherwise directed by the Debtor in writing, notice of
default shall be sufficient if delivered as follows:

       If to the Debtor or Reorganized Debtor:1              Serenity Homes of TN, LLC
                                                             103 Hwy 259
                                                             Portland, Tennessee 37148

               With copy to:                                 Gray Waldron
                                                             DUNHAM HILDEBRAND, PLLC
                                                             21st Avenue South, Suite 303
                                                             Nashville, Tennessee 37212
                                                             gray@dhnashville.com

       If to the Trustee:                                    Michael G. Abelow, Trustee
                                                             SRVH, PLC
                                                             150 Third Ave. S., Ste 1100
                                                             Nashville, TN 37201
                                                             mabelow@srvh.com

                             ARTICLE IX
          EFFECT OF CONFIRMATION, DISCHARGE AND INJUNCTION

      9.01 Vesting of Property. Except as otherwise expressly provided in the
Plan, Confirmation of the Plan shall vest all the property of the Debtor’s estate in
the Debtor.

       9.02 Property Free and Clear. Except as otherwise provided in the Plan, all
property shall be free and clear of all claims, liens, and interests of any party as of
the Confirmation of the Plan. This Plan will evidence the release of any and all liens
or encumbrances against all property, unless such lien or encumbrance is
specifically retained in the Plan.

      9.03 Legal Binding Effect. The provisions of this Plan shall bind all
claimants, whether or not they accept this Plan or whether or not their claim is
impaired.

       9.04 Effect on Third Parties. Nothing contained in the Plan or in the
documents to be executed in connection with the Plan shall affect any claimant’s
rights against any third party, except as otherwise expressly provided in this Plan
and except that any creditor or party in interest may only recover from any third-


1 This address for notice is the same that appears on the Petition filed by the Debtor. In the event
the Debtor later changes its address, and provides written notice of such change, the Debtor’s new
address shall be used for creditors providing notice hereunder.



Case 3:23-bk-01049       Doc 31    Filed 06/21/23 Entered 06/21/23 14:46:46             Desc Main
                                  Document     Page 18 of 26
party guarantor or co-obligor the amount owed to it in excess of the amount to be
paid on the underlying obligation pursuant to the Plan.

      9.05 Release of Claims. The consideration to be distributed under the Plan
shall be in exchange for, and in complete satisfaction and release of, all claims
against the Debtor or any of its assets or properties, including without limitation
any claim accruing after the Petition Date and prior to the Effective Date.

       9.06 Permanent Injunction. Except as otherwise expressly provided or
permitted under this Plan, upon Confirmation all claimants and persons who have
held, hold or may hold claims that existed prior to the Effective Date, are
permanently enjoined on and after the Effective Date against: (i) commencement or
continuation of any judicial, administrative, or other action or proceeding against
the Debtor on account of claims against the Debtor, or on account of claims released
pursuant to section 9.05 of the Plan; (ii) enforcement, attachment, collection or
recovery by any manner or means of any judgment, award, decree, or order against
the Debtor or any property; or (iii) creation, perfection or enforcement of any
encumbrance of any kind against the Debtor arising from a claim. This does not
enjoin the prosecution of any claims arising on or after the Effective Date nor does it
enjoin the determination in the Bankruptcy Court of the amount of any claim that
arose prior to the Effective Date. Claimants and parties asserting entitlement to
payment of administrative claims incurred prior to the date of Confirmation are
permanently enjoined from asserting any Claim against the Debtor or its retained
assets based upon any act or omission, transaction or other activity that occurred
prior to the Confirmation date, except as otherwise provided in the Plan, whether or
not a proof of claim or interest was filed and whether or not such claim or interest is
allowed under Section 502 of the Code.

       9.07 Exculpation. Except as otherwise provided in the Plan or Confirmation
order, the Debtor and the professionals for the Debtor shall neither have nor incur
any liability to any entity or person for any act taken or omitted to be taken
(exclusive of an act constituting fraud, gross negligence or intentional misconduct)
in connection with or related to this Chapter 11 case, including, without limitation,
actions related to the formulation, preparation, dissemination, implementation,
administration, Confirmation or consummation of the Plan, or any contract,
instrument, release or other agreement or document created or entered into in
connection with the Plan.

      9.08 Discharge [if under § 1191(a)]. If this Plan is confirmed under §
1191(a), on the Effective Date of the Plan, the Debtor will be discharged from any
debt that arose before Confirmation of this Plan, to the extent specified in §
1141(d)(1)(A) of the Code. The Debtor will not be discharged from any debt (i)
imposed by this Plan; or (ii) excepted from discharge under § 523(a) of the Code,
except as provided in Rule 4007(c) of the Federal Rules of Bankruptcy Procedure.




Case 3:23-bk-01049    Doc 31    Filed 06/21/23 Entered 06/21/23 14:46:46     Desc Main
                               Document     Page 19 of 26
      9.09 Discharge [if under § 1191(b)]. If the Plan is confirmed under §
1191(b), Confirmation of this Plan does not discharge any debt provided for in this
Plan until the Court grants a discharge on the completion of all payments due
within the first 3 years of this Plan, or as otherwise provided in § 1192 of the Code.
The Debtor will not be discharged from any debt (i) on which the last payment is
due after the first 5 years of the Plan, or as otherwise provided in § 1192; or (ii)
excepted from discharge under § 523(a) of the Code, except as provided in Rule
4007(c) of the Federal Rules of Bankruptcy Procedure.

                           ARTICLE X
    CLOSING OF THE CASE AND CONTINUED EXECUTION OF THE PLAN

       10.01 Closing of the Case. After the Effective Date, upon the payment of all
outstanding administrative claims and the commencement of payments to priority
creditors and secured claimants, the Reorganized Debtor will seek an Order closing
the case through the filing of a final accounting and a motion for a final decree as
required under Bankruptcy Rule 3022.

      10.02 Professional Fees after Confirmation. In the period after Confirmation,
but before closing of the case, the Reorganized Debtor may continue to avail itself to
the services of professional persons whose employment was approved at or prior to
the date of Confirmation in completing administration of the case and in the
consummation and performance of the Plan and, if necessary, employ additional
professional persons to render services in and in connection with the case. With
respect to services rendered and expenses incurred in or in connection with the case
by any professional person during such period, the professional person may render
periodic billing thereafter to the Reorganized Debtor and the Trustee, who shall
promptly pay the same, but each such payment shall be subject to review and
approval by the Court as to the reasonableness thereof, as set forth hereinbelow. In
any Motion for Final Decree, the Reorganized Debtor shall detail all amounts paid
during such period to professional persons as compensation for services rendered or
reimbursement of expenses incurred, with respect to which no prior application for
allowance thereof has been made to the Court. At any hearing upon the
Reorganized Debtor’s Motion for Final Decree, the Court shall consider and
determine whether or not such payments shall be approved as reasonable.

       10.03 Continued Execution of the Plan after Closing. After closing of the
case, the Reorganized Debtor shall remit all Plan Payments to the appropriate
holders of allowed claims provided for in the Plan. Upon all payments having been
distributed, the Reorganized Debtor shall be authorized to reopen the case, satisfy
any additional requirements under the Code and receive a discharge.




Case 3:23-bk-01049   Doc 31    Filed 06/21/23 Entered 06/21/23 14:46:46     Desc Main
                              Document     Page 20 of 26
       10.04 Professional Fees after Closing. After closing of the case, the
Reorganized Debtor may continue to avail itself to the services of professional
persons whose employment was approved at or prior to closing of the case in
performance of the Plan. In the event such professional services are rendered, or
expenses are incurred by any professional person therewith, an itemized bill shall
be furnished by such professional person to the Reorganized Debtor, who shall
promptly pay the same, subject to any objection being raised by the Reorganized
Debtor, or the Trustee, in the event the Trustee remains in place to receive and
distribute funds under the Plan. Pursuant to Section 8.06(j) of this Plan, the Court
will retain jurisdiction to review the reasonableness of each such payment in the
event of such an objection or dispute.


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Case 3:23-bk-01049   Doc 31    Filed 06/21/23 Entered 06/21/23 14:46:46   Desc Main
                              Document     Page 21 of 26
Date: June 21, 2023

SERENITY HOMES OF TN, LLC

/s/Eileen Santangelo
Eileen Santangelo

By: Eileen Santangelo
Its: Member

Respectfully Submitted,


/s/ Gray Waldron
Gray Waldron
DUNHAM HILDEBRAND, PLLC
2416 21st Avenue South, Suite 303
Nashville, TN 37212
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Attorneys for Debtor




Case 3:23-bk-01049    Doc 31    Filed 06/21/23 Entered 06/21/23 14:46:46   Desc Main
                               Document     Page 22 of 26
                     Table of General Unsecured Claims




Case 3:23-bk-01049   Doc 31    Filed 06/21/23 Entered 06/21/23 14:46:46   Desc Main
                              Document     Page 23 of 26
                                  Plan Exhibit A.1
                   Hypothetical Chapter 7 Real Estate Liquidation
1356 Highway 259, Portland, TN 37148
Estimated Chapter 7 Sales Price:                                                   $315,000.00
less 6% realtor                                                                     ($18,900.00)
less est. closing costs @ 3%                                                         ($9,450.00)
less Secured Claim               PNC                                              ($121,073.59)
less Secured Claim               First Horizon                                      ($70,000.00)
less Secured Claim               KCC Electric                                        ($7,000.00)
less Secured Claim
less Secured Claim
less Secured Claim
SUBTOTAL PROCEEDS:                                                                 $88,576.41
less Chapter 7 Trustee Fee (25% up to $5,000)
less Chapter 7 Trustee Fee (10% from $5,000 up to $50,000)                          ($7,678.82)
less Chapter 7 Trustee Fee (5% from $50,000 up to $1,000,000)
Gross Liquidation Proceeds:                                                        $80,897.59
less Homestead Exemption
les Est. Capital Gains Tax                                                   ??
less Est. Interest accrual on liens before closing                                  ($4,558.41)
Subtotal:                                                                          $76,339.18

200 Tranquility Lane, Portland, TN 37148
Estimated Chapter 7 Sales Price:                                                   $405,000.00
less 6% realtor                                                                     ($24,300.00)
less est. closing costs @ 3%                                                        ($12,150.00)
less Secured Claim                Easy Street                                     ($347,090.46)
less Secured Claim                Sumner County Trustee                              ($1,313.26)
less Secured Claim                KCC Electric
less Secured Claim
less Secured Claim
less Secured Claim
SUBTOTAL PROCEEDS:                                                                 $20,146.28
less Chapter 7 Trustee Fee (25% up to $5,000)                                       ($2,764.63)
less Chapter 7 Trustee Fee (10% from $5,000 up to $50,000)
less Chapter 7 Trustee Fee (5% from $50,000 up to $1,000,000)
Gross Liquidation Proceeds:                                                        $17,381.65
less Homestead Exemption
les Est. Capital Gains Tax                                                   ??
less Est. Interest accrual on liens before closing                                  ($8,018.06)
Subtotal:                                                                           $9,363.59




   Case 3:23-bk-01049                  Doc 31      Filed 06/21/23 Entered 06/21/23 14:46:46        Desc Main
                                                  Document     Page 24 of 26
2098 Hwy 76, Portland, TN 37148
Estimated Chapter 7 Sales Price:                                                     $405,000.00
less 6% realtor                                                                       ($24,300.00)
less est. closing costs @ 3%                                                          ($12,150.00)
less Secured Claim               Easy Street                                        ($277,363.78)
less Secured Claim               Sumner County Trustee                                 ($1,244.24)
less Secured Claim               KCC Electric
less Secured Claim
less Secured Claim
less Secured Claim
SUBTOTAL PROCEEDS:                                                                   $89,941.98
less Chapter 7 Trustee Fee (25% up to $5,000)                                         ($7,747.10)
less Chapter 7 Trustee Fee (10% from $5,000 up to $50,000)
less Chapter 7 Trustee Fee (5% from $50,000 up to $1,000,000)
Gross Liquidation Proceeds:                                                          $82,194.88
less Homestead Exemption
les Est. Capital Gains Tax                                                     ??
less Est. Interest accrual on liens before closing                                    ($6,411.80)
Subtotal:                                                                            $75,783.08

8589 Scottsville Road, Franklin, KY 42134
Estimated Chapter 7 Sales Price:                                                    $143,100.00
less 6% realtor                                                                       ($8,586.00)
less est. closing costs @ 3%                                                          ($4,293.00)
less Secured Claim                 Wood                                             ($116,000.00)
less Secured Claim
less Secured Claim
less Secured Claim
less Secured Claim
less Secured Claim
SUBTOTAL PROCEEDS:                                                                   $14,221.00
less Chapter 7 Trustee Fee (25% up to $5,000)                                         ($2,172.10)
less Chapter 7 Trustee Fee (10% from $5,000 up to $50,000)
less Chapter 7 Trustee Fee (5% from $50,000 up to $1,000,000)
Gross Liquidation Proceeds:                                                          $12,048.90
less Homestead Exemption
les Est. Capital Gains Tax                                                     ??
less Est. Interest accrual on liens before closing                                    ($3,813.70)
Subtotal:                                                                             $8,235.20



                                                 Combined Real Estate Total:        $169,721.06
                                                Less capital gains taxes


   Case 3:23-bk-01049                  Doc 31      Filed 06/21/23 Entered 06/21/23 14:46:46          Desc Main
                                                  Document     Page 25 of 26
                                    Plan Exhibit A.2
                         Personal Property Liquidation Analysis
Asset                      Amount        Lien(s)         Exemption                        Net
2012 Chevrolet Silverado       $9,000.00     ($9,000.00)                                        -
                                                                                                -


               Subtotals     $9,000.00        ($9,000.00)          $0.00           $0.00
                  $0.00 Subtotal of positive net proceeds before auction costs
                  $0.00 Auctioneer Costs and Fees (15%)
                  $0.00 Subtotal of positive net proceeds before Trustee commissions
                          less Chapter 7 Trustee Fee (25% up to $5,000)
                  $0.00   less Chapter 7 Trustee Fee (10% from $5,000 up to $50,000)
                          less Chapter 7 Trustee Fee (5% from $50,000 up to $1,000,000)
                  $0.00 Amount available for unsecured creditors in Chapter 7




  Case 3:23-bk-01049      Doc 31        Filed 06/21/23 Entered 06/21/23 14:46:46                    Desc Main
                                       Document     Page 26 of 26
